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                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                            No: 22-1226

                           In re: Star Tribune Media Company LLC, et al.

                                                   Petitioners

______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:21-cr-00108-PAM)
______________________________________________________________________________

                                            MANDATE

          In accordance with the judgment of 02/25/2022, and pursuant to the provisions of Federal

Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in the above-styled

matter.

                                                      February 25, 2022




Clerk, U.S. Court of Appeals, Eighth Circuit
